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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. 9:19-CV-80633-ROSENBERG

   SECURITIES AND EXCHANGE COMMISSION,

            Plaintiff,
   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   EAGLE FINANCIAL DIAMOND GROUP INC.
   a/k/a DIAMANTE ATELIER, ARGYLE COIN,
   LLC, JOSE ANGEL AMAN, HAROLD SEIGEL,
   & JONATHON H. SEIGEL,

            Defendants,

   H.S. MANAGEMENT GROUP LLC, et. Al.

         Relief Defendants.
   _______________________________________/

      DEFENDANTS, SEIGEL AND RELIEF DEFENDANT, HS MANAGEMENT ’s
    UNOPPOSED MOTION FOR EXTENSION OF TIME TO REPLY TO RECEIVER’S
    RECENT FILING ON ITS RENEWED MOTION TO COMPEL AND DEFENDANT’S
                     MOTION FOR PROTECTIVE ORDER

           COMES NOW, Defendants, SEIGEL, and Relief Defendant, HS MANAGEMENT’s

  Unopposed Motion for Extension of Time to Respond to Receiver’s recent filings on its

  Renewed Motion to Compel and Defendant’s Motion for Protective Order [D.E. 237 ] and states:

  1. Receiver last made its filing in reply to Receiver’s Renewed Motion to Compel and in

        Response to Defendant’s Motion for Protective Order by extension dated August 11, 2020.

  2. Due to calendaring error, the undersigned believed Defendant’s reply to be due today,

        August 21, 2020. The Defendants are in the process of gathering pertinent documentation

        and information material to the matter.
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  3. The undersigned reached out to counsel for SEC who has no objection to the extension.

      Counsel for the Receiver, noting their belief Defendant’s response was actually due on

      August 18, 2020, represented, to the extent this court is agreeable to grant the extension, the

      Receiver has no objection to the requested extension.

           WHEREFORE, it is requested that this Court grant the relief requested by grating

  Defendants a ten (10) day extension within which to file its Reply.

                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing Motion has been eserved via CM/ECF
  on all counsel of record listed below this 21st day of August, 2020.
                                                Respectfully submitted,

                                                _______/EK/_____________________
                                                ELLEN M KAPLAN, ESQ
                                                FBN 0875228
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                                       counsel)




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